            Case 6:15-bk-08570-KSJ         Doc 161     Filed 08/22/18   Page 1 of 2



                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

In re:
                                                                            Case No.: 15-08570
                                                                                      Chapter 7
Benito Rodriguez
Maria Rodriguez

                DEBTOR                       /


                  APPLICATION FOR COMPENSATION FOR REALTOR

              NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING

         Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
 paper without further notice or hearing unless a party in interest files a response within
 (21) twenty-one days from the date set forth on the attached proof of service, plus an
 additional three days for service if any party was served by U.S. Mail. If you object to
 the relief requested in this paper, you must file a response with the Clerk of the Court at
 400 W. Washington St., Suite 5100, Orlando, Florida 32801and serve a copy on Arvind
 Mahendru, Trustee, 5703 Red Bug Lake Road #284, Winter Springs, Florida 32708 and
 any other appropriate persons within the time allowed.
         If you file and serve a response within the time permitted, the Court will either
 schedule and notify you of a hearing, or consider the response and grant or deny the
 relief requested without a hearing. If you do not file a response within the time
 permitted, the Court will consider that you do not oppose the relief requested in the
 paper, will proceed to consider the paper without further notice or hearing, and may
 grant the relief requested.



         Arvind Mahendru, Trustee, by and through his undersigned counsel files this Application
for Compensation for Realtor, BK Global Real Estate Services and Century 21 Carioti (the
Realtor), in the above-captioned case and in support thereof states:
1. The Court has approved the employment of the Realtor, in this case (Doc. No. 131).
2. The Realtor assisted the Trustee in negotiating a deed-in-lieu transaction whereby the
    secured creditor compensated the estate in the amount of $17,500.00 in exchange for
    receiving the deed to real property located at 1422 Canal Point Rd, Longwood, Florida.
3. The Realtor, BK Global Real Estate Services, seeks fees in the amount of $4,500.00 for
           Case 6:15-bk-08570-KSJ          Doc 161     Filed 08/22/18      Page 2 of 2



    services provided to the Estate. Pursuant to our agreement, the Realtor would have received
    2% of the sales price or $8,000.00 if secured creditor had approved the short sale of the
    property.
4. The Realtor, Century 21 Carioti, seeks fees in the amount of $1,500.00 for services provided
    to the Estate. Pursuant to our agreement, the Realtor would have received 2% of the sales
    price or $8,000.00 if secured creditor had approved the short sale of the property.
5. The Trustee believes that the Realtor provided a valuable service to the Estate and should be
    afforded the compensation described above.
    WHEREFORE, the Trustee respectfully requests that the Court award fees to Century 21
Carioti in the amount of $1,500.00 and BK Global Real Estate Services in the amount of
$4,500.00 for services rendered in this case and for any other relief as the Court deems just.



                                                     Respectfully submitted,

                                                      /s/ Arvind Mahendru __
                                                     Arvind Mahendru, Esq.
                                                     5703 Red Bug Lake Rd. #284
                                                     Winter Springs, FL 32708
                                                     407-504-2462


                              CERTIFICATE OF SERVICE


       I certify that a true and correct copy of the Application for Compensation for Realtor was
served by electronic delivery to the Office of the United States Trustee on August 22, 2018.

Hernan Cortes Rodriguez, via ECF

Benito Rodriguez, Maria Rodriguez, 1422 Canal Point Road, Longwood, FL 32750;

United States Trustee, ustp.region21.ecf@usdoj.gov



                                                     /s/ Arvind Mahendru       __
                                                     Arvind Mahendru
